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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                     :           Case No. 3:18-cr-095 (SRU)
                                             :
                v.                           :
                                             :
YEHUDI MANZANO                               :           October 22, 2018


                     GOVERNMENT’S PROPOSED VERDICT FORM

We, the jury, unanimously find:


I.       COUNT ONE

      With respect to COUNT ONE, charging Yehudi Manzano with production of child
      pornography, we the jury unanimously find Mr. Manzano:

                       ______ Guilty              ______ Not Guilty


II.      COUNT TWO

      With respect to COUNT TWO, charging Yehudi Manzano with transportation of child
      pornography, we the jury unanimously find Mr. Manzano:

                       ______ Guilty              ______ Not Guilty




Please sign and date this verdict form.



______________________________________                          _________________
Foreperson                                                      Date




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 22, 2018, a copy of the foregoing Government’s Proposed
Verdict Form was filed electronically and served by mail on anyone unable to accept electronic
filing. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                /s/ Neeraj N. Patel
                                                Neeraj N. Patel
                                                Assistant United States Attorney




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